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             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF NEW YORK


MATTIEU BURKS,

                 Plaintiff,             Civil Action No.
                                        9:16-CV-0759 (FJS/DEP)
     v.

CHAD STICKNEY, et al.,

                 Defendants.


APPEARANCES:                            OF COUNSEL:

FOR PLAINTIFF:

STOLL, GLICKMAN & BELLINA LLP           LEO GLICKMAN, ESQ.
475 Atlantic Avenue, Third Floor
Brooklyn, New York 11217

FOR DEFENDANTS:

HON. ERIC T. SCHNEIDERMAN               DENISE P. BUCKLEY, ESQ.
New York State Attorney General         ADRIENNE J. KERWIN, ESQ.
The Capitol                             Assistant Attorneys General
Albany, NY 12224


DAVID E. PEEBLES
CHIEF U.S. MAGISTRATE JUDGE
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                            DECISION AND ORDER

      This is a civil rights action brought by plaintiff Mattieu Burks, a New

York State prison inmate who is represented by counsel, pursuant to 42

U.S.C. § 1983, against various employees of the New York State

Department of Corrections and Community Supervision ("DOCCS").

Currently pending before the court is an application by plaintiff for

sanctions based upon several occurrences during the course of pretrial

discovery. For the reasons set forth below, plaintiff's motion will be granted

in part.

I.    BACKGROUND

      Plaintiff commenced this action on June 27, 2016. Dkt. No. 1. In his

complaint, as amended, plaintiff alleges that defendants harassed and

assaulted him while he was incarcerated in the Clinton Correctional

Facility ("Clinton"), located in Dannemora, New York, and deprived him of

certain basic necessities, including water and electricity, in an effort to

dissuade him from cooperating with investigations conducted regarding

prisoner abuse at Clinton and the introduction of contraband into the

facility. Dkt. No. 36. Plaintiff's complaint asserts Eighth Amendment cruel

and unusual punishment claims against several named corrections

officers, as well as additional, unidentified Doe defendants. Id.


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      The conduct of counsel for the parties, and in particular their

interactions, has not lived up to the court's expectations. As a result of the

inability to effectively and meaningfully communicate, counsel for both

parties have greatly increased the complexity and expense associated

with the litigation, and have required intervention from the court in

connection with matters that should not have arisen or should have been

resolved between counsel.

      On October 17, 2017, plaintiff filed a motion seeking an award of

sanctions based upon alleged failures on the part of defendants to engage

in discovery. Dkt. No. 81. Plaintiff's motion centers upon four subjects,

including (1) defendants' refusal to appear for depositions; (2) last minute

changes in the conditions associated with a photographic array to be

shown to plaintiff to assist him in identifying the individuals responsible for

the constitutional violations alleged; (3) the misidentification of a defendant

listed by plaintiff in his complaint only by the name "Corrections Officer

Nolan" as "Darwin Nolan"; and (4) the need to elicit court assistance in

scheduling the depositions of Superintendents Racette and Kirkpatrick. Id.

Plaintiff's motion is brought pursuant to Rule 37(d) of the Federal Rules of

Civil Procedure and the court's inherent power to regulate litigation. Dkt.

No. 81-1 at 2, 10.


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II.   DISCUSSION

      A.    Scheduling of Depositions

      On May 19, 2017, plaintiff served defendants with seven deposition

notices. Dkt. No. 81-2 at 2; see e.g., Dkt. No. 81-3. Those notices

specified that the depositions would occur on dates that were not

previously discussed and cleared with defendants' counsel, but which

were more than one month after the notices were sent, and that they

would be held in Albany, New York. Id. The initial response from

defendants' attorney, sent by e-mail on May 26, 2017, was that she had

contacted all but one of the seven defendants, four of whom were

available on the dates requested and two who gave alternative dates

within the specified time frame. Dkt. No. 88 at 4, see Dkt. No. 81-4 at 1-2;

Dkt. No. 88-6. In that e-mail, defendants' counsel stated that "[t]he

defendants will appear at Clinton CF for their depositions, not in Albany[,]"

and offered the option of conducting the depositions by video conference

with the witnesses testifying at Clinton and the attorneys participating from

Albany. Id. Negotiations over the dates and locations of the depositions

ensued. Id. Ultimately, depositions of five defendants were completed; four

of those occurred in Albany, New York, and the fifth, that of defendant




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Racette, was held in Plattsburgh, NY. 1 Dkt. No. 88 at 5. The remaining

four depositions did not take place, apparently based upon a decision by

plaintiff's counsel not to pursue the matter. Id.

        Plaintiff now seeks to recover attorney's fees for 1.1 hours of time

spent in negotiating over the dates and locations of the depositions. In the

court's view, the requested compensation is not warranted. Although the

negotiations ultimately proved to be difficult, it is not uncommon for parties

to disagree over dates and locations of depositions and have to confer, in

good faith – as the applicable federal and local rules require – in an

attempt to arrive at agreement concerning those subjects. Plaintiff's

request for compensation for time spent in negotiating over deposition

dates and locations is therefore denied.

        B.    Photographic Array

        The issue raised by plaintiff’s counsel in connection with his desire to

have his client view a photographic array of corrections officers employed

at the relevant times at Clinton illustrates the stark failure of

communication between counsel in this case, and the deleterious effect it




1      The scheduling of defendant Racette's deposition is the subject of another issue
raised in plaintiff's motion, and will be addressed separately. See pp. 14-18, post.
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has had in complicating discovery and requiring court involvement that

should have been unnecessary.

      In an effort to identify the officers that allegedly assaulted him on

July 5, 2015, plaintiff requested an opportunity to review a photographic

array of corrections officers on duty in the block in which he was housed

between July 5, 2015 at 11:00 p.m. and 7:00 a.m. on the following

morning. Dkt. No. 81-1 at 3. On June 13, 2017, the parties agreed that the

array would be presented to plaintiff at 9:00 a.m. on June 15, 2017, at the

Great Meadow Correctional Facility ("Great Meadow"), located in

Comstock, New York, where plaintiff was housed at the time. Id. The date

coincided with a planned trip by plaintiff's counsel to meet with his client at

Great Meadow on the afternoon of June 14, 2017. Id. at 3-4. In light of the

parties' agreement, plaintiff's counsel reserved a hotel room for the night of

June 14, 2017, near the facility. Id. at 4; see Dkt. No. 81-10.

      At 7:06 p.m. on June 13, 2017, defendants' counsel sent an e-mail to

plaintiff's attorney, stating the following:

       The photo array review in the above matter is confirmed for
       Thursday, June 15th, at [9:00 am] at Great Meadow CF. We
       have arranged for a court reporter to be present to
       transcribe the proceedings. The proceedings will also be
       videotaped.



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Dkt. No. 56 at 3. Plaintiff's counsel responded by e-mail sent on June 13,

2017 at 8:47 p.m., questioning the new conditions. Id. That communication

was followed by another e-mail, sent at 9:17 p.m. on that evening, asking

that defendants' counsel contact plaintiff's attorney by 9:30 a.m. on the

following day before he left for Great Meadow. Id. Having had no

response, plaintiff’s counsel left a voicemail message for defendants’

attorney shortly after 9:30 a.m. on the following morning but, not having

otherwise heard from defendants' counsel, he left for Comstock. Id.

      According to plaintiff's counsel, the two attorneys spoke on the

morning of June 14, 2017 and, after plaintiff's counsel reiterated his

objection to the proposed conditions, defendants' attorney purportedly

stated "that she was going forward with a photo array with [his] client that

[sic] it would be on video and recorded, regardless of [his] presence." Dkt.

No. 56 at 3. Citing an e-mail from her to plaintiff's counsel sent on June 14,

2017 at 11:14 a.m., defendants’ attorney states that, in contrast to

plaintiff's version, she advised plaintiff's counsel that it was his choice to

attend or not to attend the photographic array, and if he chose not to

attend, the proceeding would not go forward. Dkt. No. 88 at 7; see Dkt.

No. 56-1 at 1.




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        Based upon the uncertainty in his mind as to whether defendants

intended to go forward with the photographic array in his absence,

plaintiff's counsel applied to the court for an injunction and temporary

restraining order precluding defendants from engaging in the

contemplated photographic array procedure. See Dkt. Nos. 55, 56. In

response, defendants' attorney wrote to plaintiff's counsel on June 14,

2017, advising that if counsel did not attend the photo review, it would not

take place, and she would inform the court of his failure to attend the

review that was requested by him and scheduled to accommodate his

travel plans. Dkt. No. 59-1 at 2. When plaintiff's counsel refused to

withdraw the request for relief from the court, defendants' attorney wrote to

the court on June 14, 2017, alleging that the application was made on the

basis of a "materially false allegation." Dkt. No. 59. The result of plaintiff's

motion was the issuance of an order, on June 14, 2017, by Senior District

Judge Frederick J. Scullin, Jr., granting the motion and prohibiting

defendants from proceeding to have plaintiff review photographs without

his counsel being present.2 Dkt. No. 58.




2    In his order of June 14, 2017, Senior District Judge Scullin issued the following
admonition:
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        In the court's view, this is a dispute that could and should have been

resolved through meaningful communication between the parties, and

without the need for court intervention. A simple telephone conversation

held on June 14, 2017, would have clarified that defendants did not intend

to go forward with the scheduled photographic array outside the presence

of plaintiff's attorney, and the parties could then have negotiated regarding

the parameters of the proceeding and, if necessary, agreed upon a

mutually convenient date for rescheduling it. I am therefore disinclined to

award costs and attorney's fees associated with the photographic array

and plaintiff's motion for emergency injunctive relief from the court. 3

        C.     Controversy Over the Identity of Defendant Correction Officer
               Nolan

        In his complaint, plaintiff named "Correction Officer Nolan" as one of

defendants. See Dkt. No. 1. At the time his complaint was prepared,

plaintiff did not know the first name of the Correction Officer Nolan he




         The Court reminds counsel that their conduct is governed by the Rules
         of Professional Responsibility with regard to all of their interactions
         with opposing parties who are represented by counsel.
Dkt. No. 58 at 2 n.2.
3       I note that in his application to the court for emergency injunctive relief, plaintiff's
counsel requested that he be awarded costs and attorney's fees. See Dkt. No. 55 at 5.
In his order granting injunctive relief, however, Judge Scullin did not address that
request.
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intended to sue. Id. The summons and complaint were received at Clinton

on August 23, 2016. Dkt. No. 88-39 at 2. Because neither the summons

nor plaintiff's complaint provided a first name for Correction Officer Nolan,

and there are approximately fourteen hundred employees at Clinton, an

investigation was undertaken to determine which of three Correction

Officer Nolans employed at the relevant times at Clinton was the individual

plaintiff intended to name in his complaint. Id. at 2-3. As a result of those

inquires, it was believed that Darwin Nolan was the correction officer

referenced by plaintiff.4 Dkt. No. 88-39 at 3. Defendants' attorney did not

participate in the investigation, and instead was advised by Cassandra

Savage, an assistant in the legal office at Clinton, of the results of the

inquiry into the matter. Id. In the answer filed on behalf off defendants on

October 13, 2016, Correction Officer Nolan was therefore identified as

Darwin Nolan. Dkt. No. 22.

      A deposition of defendant Nolan was held on July 28, 2017. Dkt. No.

81-1 at 5. The testimony given during that deposition confirmed that, in

fact, Darwin Nolan was not the Nolan intended to be sued by plaintiff. Id.

at 5-6.


4      Although Darwin Nolan worked at Clinton at the times relevant to plaintiff's
claims, he was not stationed there when the summons and complaint were served.
Dkt.k No. 81-1 at 6.
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      Without more information, the court is unable to determine whether

an ethical violation or other mischief occurred in connection with the

decision to identify Darwin Nolan as the correction officer intended to be

sued by plaintiff. Plaintiff's request for an award of costs and attorney's

fees associated with this issue is therefore denied.

      D.    Depositions of Superintendents Kirkpatrick and Racette

      In the last portion of his motion, plaintiff seeks recovery of expenses

associated with his efforts to schedule the depositions of defendants

Racette and Kirkpatrick, and of having to apply to the court to compel

those defendants to appear for depositions. In considering this portion of

plaintiff's motion, the court takes notice that as a recently retired and a

current superintendent of a large correctional facility such as Clinton,

respectively, defendants Racette and Kirkpatrick have busy schedules that

are sometimes difficult to accommodate when it comes to the scheduling

of depositions. A careful review of the record now before the court,

however, including the many e-mails exchanged between counsel, reflects

that there was significant and needless difficulty in scheduling the

depositions of those defendants.

      On June 28, 2017, plaintiff's attorney informed defendants' counsel

that he would be available to depose the seven defendants noticed,


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including defendants Racette and Kirkpatrick, during the weeks of July 17

and July 24, 2017. Dkt. No. 81-1 at 6-7. After agreeing to conduct one

deposition per day during the July 18 through 21, 2017 timeframe, and

also on July 25, 27, and 28, 2017, on July 13, 2017, defendants' counsel

e-mailed plaintiff's attorney and confirmed depositions for July 19, 2017

(defendant Kirkpatrick), July 20, 2017 (defendant Racette), July 24, 2017

(defendant Cross), July 25, 2017 (defendant Stickney), and July 28, 2017

(defendant Nolan). Id. at 7. Plaintiff agreed to that schedule. Id.

      On July 17, 2017, defendants' counsel revised the schedule, offering

to conduct depositions on July 20, 2017 (defendant Stickney), July 24,

2017 (defendant Cross), July 25, 2017 (defendant Kirkpatrick), July 28,

2017 (defendant Nolan), and August 1, 2017 (defendant Racette). Dkt. No.

81-1 at 7. Although inconvenient for plaintiff’s counsel and the cause of

disruption with his travel plans, he agreed to the revised schedule. Id. The

deposition of Superintendent Kirkpatrick, however, which was scheduled

to be held on July 25, 2017, was unilaterally cancelled by defendants on

July 24, 2017, based upon the claim that he was ill. Id.

      The Kirkpatrick deposition was ultimately rescheduled for September

20, 2017, on agreement of the parties. Dkt. No. 81-1 at 7. On September

8, 2017, however, defendants' attorney advised plaintiff's counsel that


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Superintendent Kirkpatrick had a scheduling conflict and could not appear,

but would be available on September 22, 2017. Id. Plaintiff's counsel

reluctantly agreed to the rescheduling. Id. On the evening of September

21, 2017, however, after plaintiff's counsel arrived at his hotel room in the

area, he was advised by defendants' attorney that defendant Kirkpatrick

would not be appearing for deposition in September 22, 2017. Id. at 7-8.

As a result of that cancellation on short notice, plaintiff's counsel

unnecessarily incurred expenses for the court reporter ($350.00), the cost

of the hotel room ($160.27), and mileage costs (amount not specified) for

the failed deposition, and seeks recovery of those sums as well as

compensation for one-half of the time expended in preparing for the

Kirkpatrick deposition. Id.; see Dkt. Nos. 81-14, 81-15.

      Superintendent Kirkpatrick has given a declaration which he swears,

inter alia, that he was physically ill on July 25, 2017, and that it did not

become clear to him until the prior day that he would not be well enough to

attend the scheduled deposition. Dkt. No. 88-38 at 2. Superintendent

Kirkpatrick also states in his declaration that a matter requiring his

presence at Clinton on September 20, 2017, necessitated the

rescheduling of his deposition to two days later. Id. at 3. The scheduled

deposition on September 22, 2017, was postponed as a result of a serious


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security issue at Clinton requiring a search of the entire Clinton

Correctional Facility Annex. 5 Dkt. No. 88-38 at 3-4.

       Superintendent Kirkpatrick's deposition was ultimately held on

October 24, 2017. Dkt. No. 88-38 at 4. It was necessary, however, for

plaintiff to apply to the court in order to obtain an order directing

Superintendent Kirkpatrick, and, as will be seen, former Superintendent

Racette, to appear for deposition. See Dkt. No. 79. That request for

intervention resulted in the issuance of a text order on October 19, 2017,

directing Superintendent Kirkpatrick to appear for deposition on October

24, 2017 in Albany, New York. Dkt. No. 82. In the court's view, court

intervention should not have been necessary, and defendant Kirkpatrick

should have appeared for deposition at a mutually agreed-upon date.

Accordingly, I will grant plaintiff's request for sanctions.6

       With regard to defendant Racette, defendants’ counsel advised that

he was out of town on July 18, 2017, but would be available on July 20,


5       In his declaration Superintendent Kirkpatrick notes that at the time of the
incident his First Deputy for Security was out on leave, and was therefore unavailable
to supervise any search in Kirkpatrick's absence. Dkt. No. 88-38 at 3-4.
6       With regard to preparation time, the court believes that plaintiff's counsel should
not be compensated for that time since the deposition of Superintendent Kirkpatrick
ultimately went forward. In addition, having determined that cancellation of the
September 22, 2017 deposition was due to exigent and unforeseen circumstances, I
will not include the court reporter cancellation fee, the hotel room for plaintiff's counsel,
or mileage in the sanctions awarded against defendant Kirkpatrick.


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2017. Dkt. No. 81-1 at 8. On July 14, 2017, however, defendants' counsel

advised plaintiff's attorney that defendant Racette was no longer available

on that date. Id. Defendants' counsel then wrote to plaintiff's attorney on

July 17, 2017, stating that she was "aiming for" August 1, 2017 for a

deposition of defendant Racette, subject to confirmation. Id. In e-mails of

July 25 and 27, 2017, the parties appeared to lock into August 1, 2017, as

a date for the deposition of defendant Racette. Dkt. Nos. 81-18 at 1-4; 88

at 10. When plaintiff's counsel probed the possibility of deferring the

deposition into September, defendants' counsel responded that defendant

Racette was not available in September and suggested that the deposition

proceed on August 1, 2017. Dkt. No. 81-1 at 9. On July 27, 2017, plaintiff's

counsel wrote to request that the deposition of defendant Racette be put

off and that the parties try to reschedule it in September. Dkt. No. 88-22 at

1. Defendants' counsel responded by reiterating that defendant Racette

was not available in September but was still available in August 1, 2017.

Id. It appears in the record that after plaintiff's counsel opted not to go

forward on August 1, 2017, it was agreed that defendant Racette be

deposed by telephone on October 5, 2017. See Dkt. No. 88-24 at 1.

      On September 8, 2017 Attorney Buckley informed Attorney

Glickman that defendant Racette was no longer available for deposition on


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October 5, 2017, but could appear on October 11, 2017. Dkt. No. 88-25 at

2. No reason was given for the unavailability. Id. After a brief exchange of

e-mails Attorney Glickman notified defendants' counsel that he was not

available on October 11, 2017, the alternative date proposed for defendant

Racette's deposition. Id.; Dkt. No. 88-26 at 1. After a further exchange of

e-mails proved unsuccessful, plaintiff's counsel wrote to the court on

October 11, 2017, requesting assistance in the scheduling of depositions

of defendants Racette and Kirkpatrick. Dkt. No. 79. As a result of that

letter, the court conducted a telephone conference on October 17, 2017,

on the record, and subsequently issued a text order on October 19, 2017,

affixing for the depositions of defendants Kirkpatrick and Racette. Dkt. No.

82.

      Having carefully reviewed the chronology of events, the court is of

the firm belief that absent its intervention, the depositions of defendants

Kirkpatrick and Racette would not have occurred. Plaintiff's counsel should

not have had to elicit the court's assistance in scheduling those

depositions. Accordingly, I conclude that the award of sanctions against

defendants Kirkpatrick and Racette is appropriate. 7


7     Having carefully reviewed the record, the court finds no basis to conclude that
defendants' attorney was in any way complicit in the lack of cooperation on the part of
defendants Kirkpatrick and Racette in scheduling their depositions.
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      The total amount of sanctions sought in plaintiff's motion is

$6,768.49, a sum that includes fees and costs in the amount of $4,115.29

for the underlying alleged violations, plus an additional $2,653.20 for

drafting the motion for sanctions. Dkt. No. 81-1 at 12. As was previously

noted, some of the expenses claimed relate to mileage, court reporter

expenses, and hotel costs associated with missed or cancelled

depositions.

      It is difficult to gauge precisely what amount of time was wasted by

plaintiff's counsel in attempting to schedule the depositions of defendants

Kirkpatrick and Racette. Clearly, however, there was unnecessary effort

required on the part of plaintiff's attorney to attempt to schedule those

depositions and, ultimately, to apply to the court for appropriate relief.

Calculated at the requested rate of $198 per hour, I estimate that three

hours of attorney time was unnecessarily spent as a result of the efforts to

schedule those depositions, and therefore will award plaintiff $594.00 in

attorney's fees, apportioned equally between defendants Racette and

Kirkpatrick. 8 In addition, plaintiff is entitled to recover a portion of the costs




8     Recovery of attorney's fees in this case is governed by 42 U.S.C. § 1997e,
which provides, in relevant part, as follows:

             (d) Attorney's fees
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related to the bringing of this motion. See e.g., Gagasoules v. MBF

Leasing LLC, 286 F.R.D. 205, 216 (E.D.N.Y. 2012). Since four main

issues were raised, but sanctions were awarded on only one issue, I will

include twenty-five percent of the amount sought, or $663.30, again

apportioned equally between defendants Racette and Kirkpatrick, for a

total award of $628.65 against each defendant.

III.   SUMMARY AND ORDER

       Discovery in this case has been contentious and presented the court

with significant challenges. Many of the issues raised by plaintiff in his

motion for sanctions resulted from breakdowns of communications and

were not attributable to bad faith or obstreperous behavior. The efforts to

schedule the depositions of defendants Racette and Kirkpatrick, however,

demonstrated a stark lack of cooperation on the part of the deponents,

and required plaintiff to expend effort that should have been unnecessary.



                                          ***
             (3) No award of attorney's fees in an action described in
             paragraph (1) shall be based on an hourly rate greater than
             150 percent of the hourly rate established under section
             3006A of Title 18 for payment of court-appointed counsel.

42 U.S.C. § 1997e(d)(3). The Criminal Justice Act rate for assigned counsel in non-
capital cases in the Northern District of New York is $132. Guide to Judiciary Policy,
Vol. 7A, Ch. 2 § 230.16(a). Accordingly, the maximum rate for recovery of attorney's
fees under the PLRA is $198.



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Accordingly, plaintiff's motion will be granted and sanctions will be

awarded solely with respect to that issue. Based upon the foregoing, it is

hereby

      ORDERED as follows:

      (1)   Plaintiff's motion for sanctions (Dkt. No. 81) is GRANTED,

limited to the request for the imposition of sanctions against defendants

Racette and Kirkpatrick based upon the difficulty in scheduling their

depositions.

      (2)   Plaintiff is hereby awarded the sum of $628.65 each against

defendants Racette and Kirkpatrick, as sanctions, to be paid within thirty

days of the date of this order.

      (3)   Except to the extent of the foregoing, plaintiff's motion for

sanctions (Dkt. No. 81) is DENIED.

      (4)   The clerk is respectfully directed to forward to the attorneys in

this action the New York State Bar Association publication entitled "Civility

in Litigation: A Voluntary Commitment." In the future, the attorneys for the

parties are expected to abide by the rules set forth in that pamphlet, and to

treat each other with courtesy, dignity, and professionalism.




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Dated:    January 29, 2018
          Syracuse, NY




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